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 4                            UNITED STATES DISTRICT COURT
 5                         SOUTHERN DISTRICT OF CALIFORNIA
 6
                          (HONORABLE DANA M. SABRAW, JUDGE)
 7
      UNITED STATES OF AMERICA,               CASE NO.09CR2547-DMS
 8
             Plaintiff,                       ORDER CONTINUING HEARING ON
 9                                            REPORT OF PROBATION OFFICER AND
      v.                                      SENTENCING
10
      MANUEL BARRERAS-RODRIGUEZ (4),          Date: June 11, 2010
11                                            Time: 9:00 a.m.
             Defendant.
12

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14
             Good cause having been shown and upon agreement of the
15
      parties, it is hereby ordered that the hearing on the report of
16
      the probation officer and imposition of sentence in the above
17
      case be continued from June 11, 2010, to July 30, 2010, at 9:00
18
      a.m.   The defendant, Manuel Barreras-Rodriguez, is in custody.
19
      The court finds the time between now and the court’s acceptance
20
      of the defendant’s plea and imposition of sentence to be
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      excludable under the Speedy Trial Act.
22

23
      Date:6-3-10                   __________________________________
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